            Case 1:21-cr-00184-ADA-BAM Document 6 Filed 07/21/21 Page 1 of 3

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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
                                                         CASE NO. 1:21-cr-00184-DAD-BAM
11   UNITED STATES OF AMERICA,
                                                         UNITED STATES’ APPLICATION TO UNSEAL
12                                 Plaintiff,            CASE
                  v.
13

14   DARYOL RICHMOND, aka “Nutcase,”
     “Nuttcase,” and “Nuttcase 3x,”
15   TELVIN BREAUX, aka “AJ” and “Lilcup,”
     and
16   HOLLY WHITE,

17                                 Defendants.

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19          The United States asks this Court to unseal the indictment, arrest warrant, and other court filings

20 in this case. All defendants are now in law enforcement custody and will be scheduled for their initial
21 appearances in this case beginning this afternoon. Therefore, the indictment, arrest warrant, and other

22 court filings in this case must be unsealed to advise the defendants in open court of the charges filed

23 against them.

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          Case 1:21-cr-00184-ADA-BAM Document 6 Filed 07/21/21 Page 2 of 3

 1 DATED: July 21, 2021                           Very truly yours,

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                                                  PHILLIP A. TALBERT
 3                                                Acting United States Attorney
 4

 5                                                /s/ Joseph Barton
                                                  JOSEPH BARTON
 6                                                Assistant United States Attorney

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 1                                   UNITED STATES DISTRICT COURT

 2                                 EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA,                          CASE NO. 1:21-cr-00184-DAD-BAM
 4
                                  Plaintiff,            ORDER RE UNITED STATES’ APPLICATION TO
 5               v.                                     UNSEAL CASE

 6
     DARYOL RICHMOND, aka “Nutcase,”
 7   “Nuttcase,” and “Nuttcase 3x,”
     TELVIN BREAUX, aka “AJ” and “Lilcup,”
 8   and
     HOLLY WHITE,
 9
                                  Defendants.
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13          Good cause appearing due to the defendants’ pending initial appearances in this Court, it is

14 hereby ordered that the indictment, arrest warrant, and other court filings in this case be UNSEALED.

15          IT IS SO ORDERED.

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17 DATED: July 21, 2021

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                                                                 /s/ Sheila K. Oberto
                                                                 SHEILA K. OBERTO
19                                                               UNITED STATES MAGISTRATE JUDGE

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